 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT '

for the
Eastern District of Wisconsin

ln the Matter of the Search of:

)
Username: mr._l 1 lern_fmr ) -
User ID: 2316477393 ) Case NO. ]3 “'“ /;J ""‘ g 7
) . . .
)
)

 

which is stored at premises owned, maintained, controlled, or
operated by lnstagram, LLC, a company that is owned by
Facebook, Inc. and headquartered in Menlo Park, California

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and\state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

 

located in the Eastern District of Wisconsin, there is now concealed: `

See Attachment B

The basis for the search under Fed. R. Crim P. 4l(c) is:
evidenceof a crime;
l:| contraband, fruits of crime, or other items illegally possessed;
[| property designed for use, intended for use, or used in committing a crime;
l:| a person to be arrested or a person who is unlawfully restrained

The search is related to violations of: Title 21, United States Code, Sections 84l(a)(l), 841(b)(1)(A) and 846

The application is based on these facts: See attached affidavit

[l` Delayed notice of days (give exact ending date if more than 30 days: l , d is requested
under 18 U.S.C. § 3 lO3a, the basis of which is set forth on the attached sheet.

Applicam‘ ’s signature

 

  

Deputy Brian Nodes,v U.S. Marshals Service
P)'inted Name and Title

 

Sworn to before me and signed in my presence: ` {“

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` . *' “T,, § . "{
Judge s s1 j atu)'e

   

 

 

City and State: Milwaukee, Wisconsin Honorable David E. Jones , U.S. Magistrate Judge
Case 2:18-mj-00027-DE.] Filed 09/28/18 Paglé\"'Eeét/‘Z@ “"E)b'@ument 1

 

 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Brian Nodes, a Deputy with the U.S. Marshals Service, being first duly sworn,

hereby depose and state as follows:
Introduction and Agent Background

1. l make this affidavit in support of an application for a search warrant for
information associated With account name mr._lllem_fmr with Instagram user id:`
2316477393] (the ”SUB]ECT ACCOUNT”) that is stored at premises owned, maintained,
controlled, or operated by I_nstagram, LLC, (”Instagram”) a social-networking company _
owned by Facebool<, lnc. and headquartered in San Francisco, California. The
information to be searched is described in the following paragraphs and in Attachment
A. This affidavit is made in support of an application for a search warrant under 18
)U.S.C. §§ 2703(a), (b)(l)(A), and (c)(l)(A), to require _Instagram to 4 disclose to the
government records and other information in its possession, including the contents of
communications, pertaining to the subscriber or customer associated With the SUB]ECT
ACCOUNT. v

2. l am a Deputy With the U.S. l\/larshals Service, and have been since April
2009. As part of my duties, l investigate violations of federal and state laws, including
those relating to fugitives. I am an investigative or law enforcement officer of the
United States within the meaning of Section 2510(7) of Title 18, United States Code, in
that l am empowered by law to conduct investigations of and to make arrests for

federal felony offenses.

Case 2:18-mj-00027-`DE.] Filed 09/28/18 Page 2 of 29 Document 1

 

 

 

3. ~ This affidavit is based upon my personal knowledge and upon
information reported to me by other federal and local law enforcement officers during
the course of their official duties, all of whom I believe to be truthful and reliable.
Throughout this affidavit, reference will be made to case agents. Case agents are those
federal, state, and local law enforcement officers who have directly participated in this
investigation, and with whom your affiant has had regular contact regarding this
investigation

' 4. Because this affidavitis submitted for the limited purpose of securing a
search warrant, I have not included each and every fact known to me concerning this
investigation I have set forth only facts that l believe are sufficient to establish probable
cause.

5. ' Based on my training and experience and the facts as set forth in this
affidavit, there is probable cause to believe that violations of Title 21, United States
Code, Sections 841(a)(1), 841(b)(1)(A) and 846 have been committed by l\/larlon SIMON.
There is also probable cause to search the SUB]ECT ACCOUNT for information
described in Attachment A for evidence of these crimes and items to be seized listed in
Attachment B.

Probable Cause

6. _ Since November of 2015, special agents from the Wisconsin Department of
]ustice, Division of Criminal Investigation, have been conducting an investigation
regarding the trafficking of large quantities of cocaine and crack cocaine in the

Milwaukee area, Which has been sourced from the Los Angeles, California area.

2
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 3 of 29 Document 1

 

 

 

7. In ]uly of 2017, case agents met with a Confidential Source (CS #l). CS #l
admitted to selling substantial amounts of cocaine in the l\/[ilwaukee area since the
summer of 2015. CS #l stated that his / her sources of cocaine were from California and
that CS #1 and his / her co~conspirators traveled out to California to obtain kilograms of
cocaine from the sources of supply on more than 5 occasions and on each`occasion they
would obtain between 2-4 kilograms of cocaine.. CS #l stated that s / he and his / her
coconspirators in Wisconsin would typically rent a ”Sprinter” type multiple passenger

van and travel to California to pick up kilograms of cocaine. Additionally', on several
occasions the California source of supply would travel to Wisconsin or send a courier to
Wisconsin to deliver the kilograms of coclaine. Since 2015, CS #l estimated that s / he `
had purchased approximately 20;30 kilograms of . cocaine from his / her California
source of supply. CS #1 stated that his / her California sources of supply Would charge
$30,000 ~ $_33,000 per kilogram of cocaine and some of the kilograms of cocaine would
be fronted. CS #l stated that the last time s / he Was in California to obtain kilograms of
cocaine from the source of supply was on April 20, 2017, Which was corroborated by
airline records and phone location data. y .

8. CS #lalso stated that when s / he first met the California source of supply
in the summer of 2015, the source of supply was present in Wisconsin selling-cocaine
CS #l stated that his California sources are nicknamed ”G” and ”H.” CS #1 positively
identified l\/larlon ]amir SIMON tB/M, DOB: 07/ 15 / 1984) as the individual s / he knew
as ”G.” CS #1 stated that ”I-I’s” real first name could possibly be _”Harvey” or ”Henry”

and described ”H” as being a black male 50-52 years old, 5’10” with a slim build and

3
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 4 of 29 Document 1

 

 

 

who drives a Cadillac SUV. CS #1 stated that ”G” and ”H” were associated with Blood
Street Gang ~l\/lembers in California. Case agents subsequently identified ”H” as Harvey
,R. HIXON (B/l\/l, DOB: 01/27/1961) and CS #1 positively identified Harvey R. HIXON
_ as the individual s/ he knew as ”H.” n .

9. CS #1 stated that in the summer of 2015 during a trip to California to
obtain kilograms of cocaine, SIMON instructed CS #1 to contact him on telephone
number 747-243-1221. Since that time, CS #1 has been.contacting Sll\/lOl\l on 747-243-
1221 to obtain kilograms of cocaine. At that meeting, SIMON and HIXON also
provided CS #1 with aflip phone with a California phone number, With area code 747,

_ and Sll\/[Ol\l and HIXON also obtained a flip phone with a Milwaukee phone number,
with the 414 area code. CS #1 stated in order to contact SIl\/_[ON"or HIXON s / he would
call SIl\/ION and ”H’s” Milwaukee number and hang lup. CS #1 stated that his / her
calling of the Milwaukee number flip phone was the signal for SIMON or HIXON to '
call 'CS #1’s California number 747-243-1221. CS #1 stated that s / he would not speak to
SIl\/ION or HIXON on the Milwaukee area code (414 area code number)', but rather
using the Milwaukee area code number was simply a way to give the appearance of a `
local phone call and attempt to evade law enforcement because no out of state numbers
b would appear on CS #l’s telephone records ’CS #1 stated that When s/ he needed
cocaine CS #1 Would call the ”414” number hang up and then call phone number 747-
243-1221 from the California flip phone and state ”.It's a jungle out there” during the

course of the conversation with ”G” (SIMCN) or ”H" (HIXON). CS #1 stated that this

4
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 5 of 29 Document 1

 

 

 

 

phrase Was the code that CS #l and his coconspirators in Milwaukee Were out of
cocaine and needed another shipment of cocaine from SIl\/ION and HIXON.

10. For several reasons, case agents believe that CS #1 is reliable and credible.
First, CS #l has been providing continuous information since ]uly of 2017. Second, the
information CS #1 has provided is substantially against CS #l’s penal interest Third,
the information provided by CS #l is consistent with evidence obtained elsewhere in
this investigation where CS #`l was not utilized, and substantial portions of CS #1’s
information has been corroborated through independent investigation, including
through surveillance and law enforcement reports For example, CS #1 informed case
agents of travel to California on numerous occasions, which Was corroborated through
subpoenaed rental car records, airline records, electronic surveillance, and confidential
source reporting CS #l has felony convictions for possession of a controlled substance,
possession of THC, battery, possession with intent to deliver cocaine, and second or
subsequent possession of THC, and fleeing and eluding officers CS #1 is` cooperating
for consideration on potential federal drug trafficking charges Finally, CS #1 has had
an adequate opportunity to observe directly the events discussed and/ or has heard
conversations directly from the individuals discussed `herein. For these reasons, case
agents consider CS #1 to be reliable.'

ll. In ]uly of 2017, acting under the direction and supervision of case agents,
CS #1 placed a recorded call to HIXON on telephone number 747-243-1221. During the
conversation, CS #1 explained to HIXON that they still had cocaine left and they would

' call HIXGN when they were ready to get more. CS #l also expressed to HIXON that

5
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 6 of 29 Document 1

 

 

 

the next shipment of cocaine had to be of good quality because they were having a hard
time selling the current shipment of cocaine because it was not good quality. HIXON
indicated that they would work it out. CS #1 indicated to HIXGN that at.some point CS
#1 wanted to come and visit (in Los Angeles). HIXON indicated that CS #1 should
come and visit. k

12. In September of 2017, CS #1, acting under the direction and control of case
agents, placed a series of recorded calls to HIXON at 747-243-1221. CS #1 was able to
make contact with HIXON and they had a discussions concerning the quality of past
cocaine shipments CS #1 also indicated to H]XON that s / he had locateda different
supplier and HIX()N asked CS #1 what he could do to fix things and indicated that he
would be willing to lower his prices if necessary. CS #1 indicated that he would travel
to California so they could discuss things in person.

13. In ]uly of 2017, agents interviewed CS #2. CS #2 admitted to trafficking
substantial amounts of cocaine in the Milwaukee area for about a year and half. CS #2
identified the 1,847 grams of cocaine recovered during a search warrant of his / her
residence as being cocaine purchased from his California suppliers CS #2 stated that
s./ he Was supplied cocaine by individuals from California and further stated that the
suppliers would bring the cocaine directly Milwaukee and sometimes CS #2 Would
travel to California and pick it up. CS #2 stated that he knows the suppliers by the
nicknames of ”G” and ”H.” CS #2 positively identified Marlon ]amir SIl\/ION (b/m,
DOB: 07/ 15 / 1984) as being the individual s/ he knows as ”G.” CS #2 described ”H” as
being an older black male, 50 years old, 5’8”~5’10," short hair, 200 lbs

6
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 7 of 29 Document 1

 

 

 

 

14. CS #2 stated the first time SIMON and HIXON sold cocaine to CS #2 and
his/ her coconspirator, s/ he was not present during the actual transaction but Was
4 outside of a residence near 73rd and Center. CS #2 stated that his co-conspirator
conducted the transaction and the cocaine was then brought to CS #2’s residence. CS
#2 stated after this initial deal in Milwaukee CS #2 and his co-conspirator_ would
purchase cocaine from SIMON or HIXON approximately every 2 1/z months CSA #2
stated that each purchase would be at least 2 kilograms

15. CS #2 stated that when the cocaine shipments were delivered to
Milwaukee, SIl\/[ON and HIXON would send a courier to deliver the cocaine and each
time the courier would arrive in an Uber. CS #2 stated that the last time CS #2 received
cocaine from SIl\/lON and I_HXON was in ]une of 2017 and that they had received
approximately 1.5 kilograms of cocaine for approximately $49,500. CS'#Z stated that the .
courier arrived at his residence in Milwaukee in an Uber and he paid the driver of the
Uber $240. CS #2 stated that the courier brought the cocaine inside of the residence in a
large backpack. CS #2 stated that they gave the courier a portion of the money for the
transaction CS #2 stated that s / he and his / her co-conspirator deposited the rest of the
money into Wells Fargo accounts CS '#2 stated that SIl\/ION and HIXON provided CS
#2 with the names and account numbers to make the deposits CS #2 stated that s / he
conducted a couple of deposits for payment and then stopped because-CS #2 was afraid
s/ he might get caught.

16. CS #2 stated that s / he and his / her coconspirators travelled to California

on 5 to 6 occasions to pick up cocaine from California. CS #2 stated that they would

_ 7`
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 8 of 29 Document 1

 

 

 

pick up 1-5 kilograms of cocaine on each trip. CS #2 stated that When they purchased
cocaine SIl\/ION and HIXON would front some of the cocaine, s / he would pay SIMC)N,
and HIXON the balance after CS #2 and his coconspirators in Wisconsin sold all of the
'cocaine. CS #2 stated that when CS #2 received the cocaine s / he would break it down
to `ounce, half-ounce, or one-eighth of an ounce quantities CS #2 stated that s / he and
his / her coconspirator would typically pay $33,000 per kilogram. CS #2 stated when
they were running low on cocaine CS #2’s coconspirator would call the supplier and tell
him, ”It‘s a jungle out there,” which meant that they were ready to be re-supplied with
cocaine. CS #2 stated that s/ he did not know SIMON or HlXON’s phone numbers

17. For several reasons, case agents believe that CS #2 is reliable and credible.
First, CS #2 has been providing continuous information since`]uly of 2017. Second, the
information provided by CS #2 is consistent with evidence obtained elsewhere in this
investigation where CS #2 was not utilized, and substantial portions of CS #2’s
information has been corroborated through independent investigation, including
through surveillance and law enforcement reports For example, CS #2 informed case
agents of travel to California, which was corroborated by subpoenaed rental car records
and electronic surveillance For example, CS #2 also provided case agents with banking
deposit information at banks, which was corroborated by bank records CS #2 has `
felony convictions for delivery of cocaine and delivery of marijuana CS #2 is
cooperating for consideration on potential federal drug trafficking charges For these

reasons, case agents consider CS #2 to be reliable

8
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 9 of 29 Document 1

 

 

 

 

18. - On September 20, 2017, case agents obtained a search warrant to obtain
location information for HIXON’s phone,_ 747-243-1221. ln September of 2017, acting
under the direction and supervision of case agents, CSv #1 traveled to Los Angeles,
California area to arrange to meet with HIXON regarding their drug distribution
relationship, including future purchasesof kilograms of cocaine. CS #1 placed recorded
calls to HIXON at phone number 747-243-1221 and 414-213-0475 to arrange for the
meeting with ”H." Case agents reviewing the location information for HIXON's phone,
747-243~1221, revealed that the phone was initially located in the area 8328 Topeka
Drive, Northridge, CA. As HIXON traveled closer and closer the meet location, case
agents observed corresponding location information for the 747-243~1221 phone
number. HlXON arrived at the pre-arranged meet locationin a grayToyota Prius with
Californiav plate# 5PL5318. Case agents conducted a check with the California
Department of Transportation regarding plate 5PL5318, which revealed that the vehicle
' listed to Ahlexhys Hixon of 8437 Cedros Avenue, #107, Panorama City, CA.

19. During the course of the meeting, which was audio and video recorded,
HIXON stated that the poor quality cocaine was obtained by others and that in the
future, HIXON would check the quality of cocaine before distributing it to CS #1.
HIXON further stated that, when the ”boat"’ arrived, HIXON’s paper would get mixed
up with the other paper, referring to the cocaine, CS #1 complained to HIXON about
the quality of cocaine and stated that s / he and CS #2 could go elsewhere (referring to
Chicago) for the cocaine and that obtaining the cocaine was not a problem. vCS #1

discussed high prices and HIXON stated that he could lower the prices During the v

9 .
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 10 of 29 Document 1

 

 

 

course of the conversation, HIXON handed CS #1 a plastic bag containing a sample of
cocaine and CS#1 stated that the cocaine sample looked nothing like the previous
cocaine obtained from HIXON. During the conversation, CS #1 also mentioned
”Valentine’s Day,” which was a reference to a bad shipment of cocaine. vl-HXON took
responsibility for the poor quality of cocaine and HIXON v told CS #1 that he had
checkedit and that it looked good. CS #1 stated that s / he and CS #2 Was looking for
”good Work,” referring to the trafficking of good quality of cocaine. CS #1 complained
about the taste of the cocaine and described how cocaine customers would complain
aboutthe taste. HlXON stated he never heard about drug users complaining about taste
and HD(ON acknowledged that after checking the cocaine, some of the cocaine sold to _
b CS # 1 was ’ffucked up.” During the meeting with HIXON, CS #1 called CS #2 and s / he
also spoke with HIXON. CS #2 and HIXON spoke about the quality of cocaine and past
cocaine transactions HIXON explained that the last delivery of cocaine was a ”rush'
job.” CS #1 informed CS #2 that HIXON provided a sample that looked good.

20. HIXON mentioned that the previous night I-HXON had spoken to SIMON
in attempts to meet up the next day with HIXOl\l and CS #1. HIXON also discussed
how to transport the cocaine to ¢S #1. CS #1' discussed drug trafficking methods
deployed by v'S»Il\/ION in the past. CS #1 further stated that ,HIXON provided him/ her
with a cellular phone bearing phone number 626-549~9786. HIXGN told CS #1 that he
was going to turn off phone number 747-24341221 and that his new number is 626-455-

8029.` HIXON stated that CS #1 should call 626-455-8029 when CS #1 is ready to

10
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 11 of 29 Document 1

 

 

 

conduct business CS #1 told-HIXON that s/ he would call him when s/ he was ready to
receive the next shipment of cocaine,

21. Case agents met with CS #1 Who turned over the sample of cocaine
received from ”H.” Case agents subjected a sample _of the cocaine to the Nark 11 Field
test and received a positive result for cocaine base. Case agents received a weight of
approximately 1.0 grams with packaging materials

22. In early October of 2017,‘CS #1, acting under the direction and control of
case agents, placed a recorded call to HIXON and during this case, CS #1 stated, in
coded language, that s / he was ready to receive another cocaine shipment from HIXON
and SIMON. `CS #1 spoke With HIXON regarding the status of the cocaine shipment
and HIXON indicated that he was waiting on ”G” (SIMON) to obtain the cocaine.- On
Gctober 21, 2017, CS #`1 received a phone call from HIXON on 414-213~0475. HIXON
indicated to CS #_1 that the shipment of cocaine would arrive in Wisconsin on Monday
or Tuesday (October 23 or 24) and that he would probably be in Wisconsin on l\/Ionday
or Tuesdayr During the call, HIXON asked CS #1 if he had enough money for three
(referring to 3 kilograms of cocaine). CS #1 told HIXON that he had enough for 3
kilograms of cocaine. HIXON indicated that he would front the fourth kilogram to CS
x #1. HIXON advised CS #1 that the phone he gave him (626-455~8029) was off but he ~
paid the bill and it should be back on. HIXQN advised CS #1 that`s / he should keep the
phone with him / her because he will call soon with additional details

23. On GCtober 26, 2017, CS #1 received a call from HIXON regarding the

shipment of cocaine. CS #1 and HIXON asked if CS #1 had converted the ‘money into

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Case 2:18-mj-OOO27-DEJ Filed 09/28/18 Page 12 of 29 Document 1 ‘

 

 

 

larger bills so it would be easier to handle. I_HXON stated that the cocaine shipment l
' would probably arrive in Milwaukee on Saturday (October’28). HIXON stated that CS
#1 should not have the money on hand until tomorrow Friday (October 27).

y 24. On October 27, 2017 at approximately 3:30 p.m., CS #1 received a phone
call from HIXON stating that the cocaine shipment was with an individual CS #1
knows as ”cousin Twain." CS #1 had prior contacts with ”cousin Twain” and identified
him as Antoine Williams CS_ #1 indicated that Williams resided in a tan residence on
the corner located at N. 70th Street and W. Hampton Avenue, in the City of Milwaukee
CS #1 showed case agents a photograph of Antoine Williams from Instagram and case
`_ agents compared the picture to the WI Department of Transportationphotograph of
Antoine L. Williams (M/B, 08-21-1984) and confirmed it was the same subject. The
address listed on Williams’ driver’s license was 477 7 N. 70th Street, Milwaukee, WI.

25. CS #1 subsequently received a call from HIXON and .HIXON stated that
”cousin Twain” was currently in the area of ”70th and Hampton” and HIXON would
advise when ”cousin -Twain" Was en route to CS #1’s location.

26. Case agents established surveillance at the residence located at_4777 N.
70th Street. At approximately 4:30 p.m., case agents observed a male black subject exit
the east door of the residence at 4777 N. 70th St and enter the driver’s side door of a
white Chevrolet l\/[alibu with IL license plate of AK15098, which Was parked to the east l
of the residence At approximately the same time, CS #1 received a phone call from
HIXON indicating that ”cousin Twain” was en route to his location. At approximately,

5:10 p.m., a white Chevrolet Malibu with IL license plate AK15098 drove north past the

12
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 13 of,29 Document 1

 

 

 

location of CS # 1, that is, the meet location. As the vehicle drove past slowly, CS #1 was
on the phone with HIXON Who indicated that ”cousin Twain” was at the meet location,
The white Chevrolet Malibu with IL license plate AK15098 then continued driving
northbound past the meet location, Surveillance units followed the white Malibu and at
approximately 5:20 p.m., Milwaukee Police Department marked units attempted to stop
the white Chevrolet Malibu with IL license plate _of AK15098, in the 2700 block of Elder
Wallis Street.

v 27. The suspect vehicle fled from the marked police vehicles and during the
pursuit, law enforcement briefly lost visual surveillance of the vehicle Shortly
thereafter, case agents recovered the white Chevrolet Malibu with IL license plate
AK15098 at 3604 N. 37th Street. The white Chevrolet Malibu with IL license plate
1 AK15098 was abandoned and the driver apparently fled on foot. Case agents observed
in plain view a cell.phone on the driver’s seat and a Glock pistol with an extended
magazine on the floorboard in front of the front passenger.seat. The driver’s door of the
white Chevrolet Malibu with IL license plate AK15098 was unlocked and case agents
conducted a protective, cursory search of the vehicle and recovered an Apple I-phone, _
model A1634,'F,CC-1D BCGE2944A with a brown case, from the driver’s seat, a Glock
pistol with an extended magazine from the floorboard in front of the front passenger’s
seat'and a receipt in the name of Antoine L. Williams.

28. Case agents maintained surveillance on the residence located at 4777 N.
70th Street. Case agents observed a light blue Honda sedan northbound on N. 70th

Street driving at a high rate speed. The vehicle turned into an alley to the south of the

13 ,
Case 2:'18-mj-OOO27-DE.] Filed 09/28/18 Page 14 of 29 Document 1

 

 

 

residence and case agents then observed a male black subject walking from the location
of where the Honda` vehicle parked _Case agents recognized the subject to be Antoine
L. Williams and case agents identified themselves as police and ordered Williams to
'stop.' Williams then fled on foot. During the foot -pursuit, case agents observed
Williams drop keys to the Honda vehicle, a cell phone that was damaged, and house
keys.‘ Upon arresting Williams, case agents recovered a substantial amount of cash and
a WI Identification card from his person.

29. On October 27, 2017, case agents obtained a federal warrant for 4777
North 70th Street, Milwaukee, WI. A search of the residence revealed marijuana,
MDl\/[A, approximately one pound of methamphetamine cellular phones, various
documents $11,610 in U.S. Currency, and two safety deposit box keys

30. In December of 2017, case agents met with a confidential source (CS #3).
CS #3 stated that he was introduced to ”G” (SIl\/ION) approximately three years ago
and stated that G was involved in selling large amounts of cocaine Specially, CS #3
stated that Simon initially brought one kilogram of cocaine to Milwaukee for sale;
however, Simon would not personally bring the cocaine to Milwaukee Rather he
would take a flight from LA to Milwaukee and one of his couriers would bring the
cocaine to CS #3. CS #3 stated that Simon bragged about having a private jet. CS #3
stated that Simon would front the cocaine to him / her and then after selling the cocaine
he would have to bring Simon back $30,000. CS #3 stated that Simon would come to
Milwaukee twice a month with cocaine and that he eventually moved up to 2-3

kilograms of cocaine per trip. CS #3 stated that CS #3 would deposit money from

14
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 15 _of 29 Documentl

 

 

 

j cocaine sales in Wells Fargo bank accounts in increments of $8000 to pay Simon for the
fronted kilograms of cocaine CS #3 al_so stated that Simon brought cocaine to CS #3 for
' approximately 6 months (4-'6 kilograms a month) for approximately six months until
Simon went to jail. CS #3 stated that when Simon went to jail he received a call from an
individual named ”H” (identifiedas Hixon) and Hixon informed CS #3 that Simon was
in jail and he turned over his drug dealing operation to him. CS #3 stated that he~was
not comfortable dealing with Hixon because he did not know him.l
31. CS #3 stated that he was contacted by Simon on Facebook indicating that
Simon wanted to hook up with him again. In August of 2017, CS #3 travelled to CA to
meet with Simon. Simon paid for CS vit 3_,’s plane ticket to "LA. During his time in LA, CS
#3 met with Simon and Simon introduced CS #3 to Hixon and stated that Simon told
him that he wanted CS #3 to deal with Hixon. Simon advised CS'#3 that he was not
l really into selling cocaine and that he made much il more money selling
methamphetamine CS #3 stated that Simon bragged about having stuff going on in
different states During his visit to Los Angeles, CS #3 stated that Hixon bought 4
Metro PCS cell phones and Hixon kept two of the phones and gave one phone to CS #3
and one phone to Simon. The three of them discussed sending cocaine to CS #3 during
sometime in September of 2017. CS #3 stated that Hixon told him that he would be in
contact with CS #3 on the phone that he (Hixon) purchased for CS #3.
32. For several reasons, case agents believe that CS #3 is reliable and credible
First, CS #3 has been providing continuous information since December of 2017.

Second, the information provided by CS #3 is consistent with evidence obtained

15
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 16 of 29 'Document 1

 

 

 

 

elsewhere in this investigation where CS #3 was not utilized, and substantial portions
of CS #3’s information has been corroborated through independent investigation,
including through surveillance, confidential source reporting, and law enforcement
reports CS #3 has felony convictions for possession with intent to distribute THC
(>‘1000-2500 grams), keeping a place of prostitution, possession with intent to distribute
cocaine (<1~5g), and fleeing and eluding an officer. CS #3 is cooperating for
consideration on potential federal drug trafficking and possession of a firearm during 4
and in relation to a drug trafficking offense charges For these reasons case agents
consider CS #3 to be reliable

c 33. `On October 23, 2017, case agents obtained a federal criminal complaint
and arrest warrant for SIMON. Case agents in the Los Angeles, California attempted to
arrest Sll\/ION in November of 2017 and it appeared that SIMON fled Los Angeles,
California after-the attempted controlled purchase of kilograms of cocaine on October
27, 2017. On ]anuary 27, 2017, Sll\/ION was indicted by a grand jury sitting in the
Eastern District of Wisconsin for various drug trafficking offenses including violations
of Title 21, United States_ Code, Sections 841(a)(1), 841(b)(1)(A), and 846. An arrest
warrant remains pending for SIMON and he is considered a fugitive Through my
'_ training and experience 1 knowlthat fugitives who use social media sites such as
Instagram maintain relationships with family and friends through private messages
along with posting and exchanging of pictures Having access to view those messages
and historical IP addresses often times provides crucial information that assists in
locating fugitives

16
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 17 of 29 Document 1

 

 

 

34. b CS #2 had previously provided case agents with SIMON’s Instagram page
and Instagram user name for the SUB]ECT ACC()UNT. Additionally, CS #3 stated that
he was aware of SIMON's Instagram page and he followed him on Instagram and
communicated directly with.SIl\/ION on Facebook messenger. C)n january 26, 2018, case
agents attempted to view SIl\/[ON’s Instagram page Case agents were able to view the
Instagram page profile picture; however, the rest of the Instagram page was blocked.
‘Case agents compared SIMON’s 2016 California Driver’s License photograph to the
profile picture on Instagram, and determined that SIl\/ION is the person in the
Instagram profile picture for the SUB]ECT ACCOUNT. C)n February l8, 2018, case
agents sent a preservation request for SIl\/[ON's page to Instagram, the SUB]ECT
ACCOUNT, through the Law Enforcement Database ljortal to preserve the content that
has been posted on that page

35. From my review'of publicly available information provided by Instagram
about its service, including Instagram’s ”Privacy Policy,” 1 am aware of the following
about Instagram and about the information collected and retained by lnstagram.

36. Instagram owns and operates a free-access social-networking website of
the same name that can be accessed at http:/ /www.instagram.com.' Instagram allows
its users to create their own profile'pages, which can include a short biography, a photo
of themselves and other information Users can access Instagram through the
Instagram website or by using a special electronic application (”app”) created by the

company that allows users to access the service through _a mobile device

17
Case 2:_18-mj-OOO27-DE.] Filed 09/28/18 Page 18 of 29 Document 1

 

 

 

37. Instagram permits users to post photos to their profiles on Instagram and
otherwise share photos with others on Instagram, as well as certain other social~media
services including Flickr, Facebook, and Twitter. When posting or sharing a photo on
Instagram, a user can add to the photo: a caption; various ”tags” that can be used to
search for the photo (e.g., a user made add the tag #vw so that people interested in
Volkswagen vehicles can search for and find the photo),' location information; and other
information A user can also apply a variety of ”filters” or other visual effects that
modify the look 'of the posted photos In addition, Instagram allows users to make
comments on posted photos including photos that the user posts or photos posted by '
other users of Instagram. Users can also ”like" photos

38. Upon creating an Instagram .account, an Instagram user must create a
unique Instagram username and an account password. This information is collected
and maintained by Instagram.

39. Instagram asks users to provide basic identity and contact information
upon registration and also allows users to provide additional identity information for
their user profile This information may include the ~user’s full name, e~mail addresses
and phone numbers as well as potentially other personal information provided directly
by the user to Instagram. Once an account is created, users may also adjust various
privacy and account settings for the account on Instagram. Instagram collects and
maintains this information

40. Instagram allows users to have ”friends,” which are other individuals

with whom the user can share information without making the information public.

, 1 b 18
Case 2:18-mj-OOO27-DE.] Filed 09/28/18 Page 19 of 29 Document 1

 

 

 

 

Friends on Instagram may come from either contact lists maintained by the user, other
third-party social media websites and information or searches conducted by the user.
ron Instagram profiles Instagram collects and maintains this information

41. Instagram also allows users to ”follow” another user, which means that
they receive updates about posts made by the other user. Users may also ”unfollow”
users that is stop following them or block the, which prevents the blocked user from
following that user.

n 42. Instagram allow users to post and share various types of user content,
including photos videos captions comments and other materials Instagram collects
and maintains user~content that users post to Instagram or share through Instagram.

43. Instagram users may send photos and videos to select individuals or
groups via Instagram Direct. Information sent via Instagram Direct does not appear in
a user’s feed, search history, or profile

44. l Users on Instagram may also search Instagram for other users or
particular types of photos or other content. v

45. For each user, Instagram also collects and retains information called ”log
file” information every time a user requests access to Instagram, whether through a

lweb page or through an app. Among the log file information that Instagram's servers
automatically record is the particular web requests any lnternet Protocol (”IP) address
associated with the request, type of browser used, any referring/ exit web pages and

associated URLs pages viewed, dates and times of access and other information

. 19
Case 2:18-mj-00027-DE.] Filed 09/28/18 'Page 20 of 29 Document 1

 

 

 

46. Instagram also collects and maintains ”cookies,” which are small text files
containing a string of numbers that are placed on a user’s computer or mobile device
and that allows Instagram to collect information about how a user uses Instagram. For
example, Instagram uses cookies to help users navigate between pages efficiently, to
remember preferences and to ensure advertisements are relevant to a user’s interests

47. Instagram also collects information on the particular devices used to
access Instagram. In particular, Instagram may record ”device identifiers” which
includes data files and other information that may identify the particular electronic
device that was used to access Instagram.

48. Instagram also collects other data associated with user content. For
example, Instagram collects any ”hashtags" associated with user content (i.e, keywords
used), ”geotags” that mark the location of a photo and which may include latitude and
longitude information comments on photos and other information Instagram also
may communicate with the user, by email or otherwise Instagram collects and
maintains copies of communications between Instagram and the user.

49. On February 8, 2018, l served Instagram with a preservation request
pursuant to 18 U.S.C. § 2703(f), requiring Instagram to preserve all information
associated with the SUB]ECT ACCOUNT.

50. As explained herein,.information stored in connection with an Instagram '
account may provide crucial evidence of the ”who, what, why, when, where, and how”
of the criminal conduct under investigation thus enabling the United States to establish

and prove each element or alternatively, to exclude the innocent from further suspicion

20
Case 2:18-mj-00027-DE.] Filed 09/28/18 Page 21 of 29 Document 1

 

 

 

 

In my training and experience,y an Instagram user's account activity, IP log, stored
electronic communications and other data retained by Instagram, can indicate who has
used or controlled the Instagram account. This ”user attribution” evidence is analogous
to the search for ”indicia of occupancy” while executing a search warrant at a residence
For example, profile contact information direct messaging logs shared photos and
videos and captions (and the data associated with the foregoing such as geo-location
date and time) may be evidence of who used or controlled the Instagram account at a
relevant time Further, Instagram account activity can show how and when the account
was accessed or used For example, as described herein Instagram logs the Internet
Protocol (IP) addresses from which users access their accounts along with the time and
date By determining the physical location associated with the logged IP addresses
investigators can understand the chronological and geographic context of the account
access and use relating to SIMON’s drug trafficking operation and travel from
California to Wisconsin to delivery controlled substances Such information allows
investigators to understand the geographic and chronological context of Instagram
access use, and events relatingto SIMON’s drug.trafficking and may help ton identify
his current whereabouts as he is a fugitive, Which may lead to his arrest. Additionally,
Instagram builds geo-location into some of its services .Geo-location‘ allows for
example, users to ”t'ag” their location in posts and Instagram ”friends” ito locate each ,
other This geographic and timeline information may tend to either inculpate or
exculpate the Instagram account owner Last, Instagram account activity may provide

relevant insight into the Instagram account owner’s state of mind as it relates to the

21
Case 2:18-mj-00027-DE.] F.i|ed 09/28/18 Page 22 of 29 Document 1

 

 

 

 

 

offense under investigation For example, information on the Instagram account may
indicate the owner’s motive and intent to commit a crime (eg., information indicating a
plan to commit a crime), or consciousness of guilt (e.g., deleting account information in
an effort to conceal evidence from law enforcement).

51. Based on the information above, the computers of Instagram are likely to
contain all the material described above with respect to the SUB]ECT ACCOUNT,
including stored electronic communications and information concerning subscribers v
and their use of Instagram, such as account access information which would include `
information such as the 113 addresses and devices used to access the account, as well as
other account information that might be used toidentifyv the actual user or users of the
account at particular times 4

Information To Be Searched And Things To Be. Seized

52. 1 anticipate executing this warrant under the Electronic Communications
Privacy Act, in particular Title 18, United States Code, Sections 2703(a), (b)(1)(A), and v
' (c)(1)(A), by using the warrant to require Instagram to disclose to the government
copies of the records and other information (including the content of communications)
particularly described in Section 1 of Attachment B. Upon receipt of the information
described in Section 1 of Attachment B, government-authorized persons will review that
information to locate the items described in Section 11 of Attachment B.

Conclusion
53. v Based on the aforementioned factual information 1 respectfully submit

that there is probable cause to believe that evidence, fruits and instrumentalities of

22
Case 2:18-mj-00027-DE.] Filed 09/28/18 Page 23 of 29 Document 1

 

 

 

 

violations or attempted violations of Title 21 U‘.S.C_. § 846, 841(a)(1) and 841(b)(1)(A)
may be located in the SUB]ECT ACCOUNT described in Attachment A.

54. This Cour_t has jurisdiction to issue the requested warrant to Instagram
because it is ”a court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18
U.S.C. §§ 2703(a)j (b)(1)(A), (c)(1)(A). Specifically; the Court is ”a district court of the
United States that has jurisdiction over the offense being investigated.” 18 U.S.C. §

2711(3)(A)(1).

55. Based on`the forgoing, 1 request that the Court issue the proposed search
warrant.

56. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer
is not required for the service or execution of this warrant. Because the warrant will be
served on Instagram, who will then compile the requested records at _a time convenient
to.~it, there exists reasonable cause to permit,the execution of the requested warrant atf

any time in the day or night.

23 j
Case 2:18-mj-00027-DE.] Filed 09/28/18 Page 24 of 29 Document 1

 

 

24`
Case 2:18-mj-00027-DE.] Filed 09/28/18 Page 25 of 29 Document 1

 

 

 

 

ATTACHMENT A
Property-to Be Searched
This warrant applies to information associated with the Instagram profile:

Username: mr._111em_fmr

 

User 1D: 2316477393
that is stored at premises owned, maintained, controlled, or operated by Instagram,
LLC, a company that is owned by Facebook, 1nc. and headquartered in `l\/[enlo Park,

California.

 

' Case 2:18-mj-00027-DE.] Filed 09/28/18 Page 26 of 29 Document 1

 

 

ATTACHMENT B
Particular Things to be Seized
I. Information to be disclosed by Instagram, LLC
To the extent that the information described in Attachment A is within the
possession custody, or control of Instagram, LLC, including any messages records
files logs or information that have been deleted but are still available to Instagram,

LLC, or have been preserved pursuant to a request made under 18 U.S.C.` § 2703(f),

Instagram, LLC is required to disclose the following information to the government for

each account listed in Attachment A:

a.` All identity and contact information for the account, including full name,
e-mail address physical address (including city, state, and zip code), date
of birth, phone numbers gender, hometown, occupation and other
personal identifiers;

b. All past and current usernames associated with the account;

c. The dates and times at which the account and profile were created, and
the lnternet Protocol (”IP”) address at the time of sign-up;

d. All activity logs including IP logs and other documents showing the 1P
address date, and time of each login to the account, as well as any other
log file information; '

e. All information regarding the particular device or devices used to login to
or access the account, including all device identifier information or cookie
information including all information about the particular device or
devices used to access the account and the date and time of those accesses,'

f. All data and information associated with the profile page, including
photographs ”bios” and profile backgrounds and themes;

g All communications or other messages sent or received by the account;

h. All user content created, uploaded, or shared by the account, including
any comments made by the account on photographs or other content;

i. All photographs and images in the user gallery for the account;

Case 2:18-mj-00027-DE.] Filed 09/28/18 Page 27 of 29 ‘Document 1

 

 

 

j. All location data associated with the account, including geotags;
k. All data and information that has been deleted by the user;

l. A list of all of the people that the user follows on Instagram and all people
who are following the user (i.e., the user's ”following” list and ”followers”
list), as well as any friends of the user;

m. j A list of all users that the account has ”unfollowed” or blocked,'
n All privacy and account settings
o. All records of Instagram searches performed by the account, including all

past searches saved by the account;

p. All information about connections between the account and third-party
Websites and applications and,

q. All records pertaining to communications between Instagram, LLC and
any person regarding the user or the user's Instagram account, including
contacts with support services and all records of actions taken including
suspensions of the account.

j II. , Information to be seized by the government

All information described above in Section 1 that constitutes fruits evidence and
instrumentalities of violations of Title _21, United States Code, Sections 841(a)(1),
841(b)(1)(A) involving SIMON since ]uly 1, 2015, including for each username
identified on Attachment A, information pertaining to the following matters:

(a) Evidence indicating how, when and where the Instagram account was
accessed or used, including information identifying the type of device
used to access the account and the location of that device;

(b)` The identity of the person(s) who created or used the user ID, including
records that help reveal the whereabouts of such person(s).

(c) All communications stored in the account, whether sent from or received v

in the account, including any ”chat or messaging or other

2
Case 2:18-mj-00027-DE.] Filed 09/28/18 Page 28 of 29 Document 1

 

 

 

 

communications” as well as such communications held in a _”Deleted”
status

(d) All photos uploaded by that user ID and all photos uploaded by any user
that have that user tagged in them; '

(e) All address books contact lists friends lists buddy lists or any other -
similar compilations of personal contact information associated with the
accounts

(f) All records or other information regarding the identification of the
account, including full name, physical address mailing address
residential or business address other contact or identifying information
such as telephone numbers and other identifiers,' including subscriber
names user names screen names'or other identities associated with the
account; records of session times and durations the date on which the
accounts were created, the length of service, the types of service utilized,v
the IP address used to register the accounts log-in 1P addresses associated
with session times and.'dates account statuses alternative email addresses
provided during registration methods of connecting log files and means

and source of payment (including any credit or bank account number).

3
Case 2:18-mj-00027-DE.] Filed 09/28/18 Page 29 of 29 Document¢l

 

 

